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                                 U N ITED STA TES DISTRICT CO U RT
                                 SO U TH ERN D ISTRICT O F FLO RIDA

                        CA SE N O .15-61059-CV -M A RR A/M ATTH EW M AN


 GR ICELD A JAN ETH RA M O S CARD O ZA ,
 and a11otherssim ilarly situated under29
 U.S.C.j216(b),
                                                                            FlLED hy                     C.
                                                                                                         .
         Plaintiff,

 V.                                                                            JAN 22 2213
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                                                                                                    T.
 M AR IO 'S CLEAN IN G SERV ICES CO RP.,                                         sso.()y'FLi.-w.E  ?k
                                                                                                    !.
                                ,
 M AR IO G .M O LIN A ,

         Defendants,
                                                   /


  O R DER G R ANTIN G PLA IN TIFF'S M O T IO N T O C O M PEL D EPO SITIO N IN AlD O F
      EXECUTION DUCES TECUM OF 30(b)(6)CORPO RATE REPRESENTATIVE OF
                                     C O R PO R ATE D EFEN D AN T

         THIS CAUSE is before the Courtupon Plaintiff, Gricelda Cardoza's (çsplaintiff')
 M otion to Compel Deposition of in aid of execution duces tecum of 30(b)(6) coporate
 representative of Comorate Defendant and for fees and costs. (DE 661. This matter was
 referred to the undersigned by United States DistrictJudge Kenneth A .M arra. See DE 67.

 Defendanthasnotfiledaresponse.lonNovember14,2017,theCourtenteredan order(DE 63q
 staying this case as to the individual Defendant,M ario G.M olina,due to his suggestion of



 l Defendantisnotrejresentedbycounselinthismatter.OnAugust10,20l5,bywrittenOrder,theCourtpermitted
 defensecounseltowlthdraw butcautionedDefendantthatitcouldnotrepresentitself,stating:($$(T)heruleiswell
 establishedthata corporation isan artificialentity thatcan actonly through agents,cannotappearpro se,and m ust
 berejresentedbycounsel.'Palazzov.GulfOilCorp.,764F.2d 1381,1385(11thCir.1985).Accordingly,the
 artificlal-entity D efendantcannotdefend this action untilitisrepresented by counsel.''To date,D efendanthasnot
 retainednew counsel.Further,Defendanthasfailed torespondto Plaintiff'spending m otion.
                                                       1
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  bankruptcy.(DE 621.However,thereisnostay asto theCorporateDefendant,M ario'sCleaning
  Services,Corp,and Plaintiffm ay proceed againstthe Corporate Defendantasnecessary. Plaintiff

 haspreviously served and noticed Defendantwith a subpoena fordeposition in aid ofexecution

 duces tecum to occuron November 17, 2017 and hired a courtreporterto be in attendance for

 said deposition.SeeDE 66-1.Defendantfailed to appearatthedeposition. See 66-2.

        PlaintiffsM otion to CompelDeposition ofin aid ofexecution ducestecum of30(b)(6)
 corporaterepresentativeofCorporateDefendantand forfeesandcosts(DE 661isGRANTED.
 The deposition ofthe 30(b)(6)Corporate Representative ofthe Corporate Defendant,Mario's
 Cleaning Services,Corp.(ûsDefendanf'),shallappear for deposition atPlaintiffs counsel's
 office,located at300 71StStreet, Suite605,M iamiBeach,Florida,33141,wi
                                                                      thin twenty (20)
 days of this Order.Plaintiffshallpromptly notice Defendant of the deposition in com pliance

 with the localand federalnlles.The CorporateRepresentative isordered to bring allresponsive

 docum entsto the deposition asperthesubpoena served on thesame.

        Plaintiff's M otion for fees and costs is GR ANTED,pursuant to Southern District of

 Florida Local Rule 7.3, to the extent that Plaintiff seeks an award of fees and costs for

 Defendant's failureto appearatthepreviously scheduled and noticed deposition. Fees and costs

 inrelationtothefilingoftheinstantmotion (DE 661,theserviceofthesubpoena,andthecourt
 reportershallbeawarded to Plaintiff,Plaintiffshallfilean affidavitofcostson orbefore January

 17,2018.Defendantshallhaveuntilon orbeforeJanuary 24, 2018tofilearesponseorobjection

 to the hourly rate claim ed by Plaintiff s counsel and the ntlm ber of hours incurred by counsel

 w hich relate to filing the instant m otion. Thereafter, Plaintiff shall have until on or before

 January 31,2018 to file any reply to Defendant'sresponse.The Courtwillthen entera separate
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 order determining the amountof attorney's fees and costs that shallbe paid by Defendantto

 Plaintiff.

          DONE and ORDERED in ChambersatW estPalm Beach, Palm Beach County,Florida,

 this
        % < day ofJanuary,2018.

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                                                UN ITED STA TES M A GISTM TE JUD G E
